Case 3:17-cv-00072-NKM-JCH Document 1152-1 Filed 10/04/21 Page 1 of 4 Pageid#:
                                  19326




                EXHIBIT A
Case 3:17-cv-00072-NKM-JCH Document 1152-1 Filed 10/04/21 Page 2 of 4 Pageid#:
                                  19327



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, THOMAS BAKER
   and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,




                          Defendants.


                    DECLARATION OF MICHAEL L. BLOCH
Case 3:17-cv-00072-NKM-JCH Document 1152-1 Filed 10/04/21 Page 3 of 4 Pageid#:
                                  19328



         I, Michael L. Bloch, on this 4th day of October, 2021, pursuant to 28 U.S.C. § 1746, declare

 as follows:

         1.      I am Counsel at the law firm Kaplan, Hecker & Fink LLP (“KHF”), one of the law

 firms representing the Plaintiffs in this action.

         2.      I am a member in good standing of the Washington, D.C. and New York State Bars.

 I am also admitted to practice before the U.S. District Court for the Southern District of New York.

 I have been admitted to appear pro hac vice before this Court for and on behalf of the Plaintiffs in

 the above-captioned action.

         3.      In September and October 2021, I met and conferred with James Kolenich, counsel

 for Defendants Jason Kessler, Nathan Damigo, and Identity Evropa, on several occasions

 regarding his clients’ proposed witness lists [ECF Nos. 1043 and 1141].

         4.      I told Mr. Kolenich that Plaintiffs would move to preclude any witnesses that had

 not been properly to disclosed to Plaintiffs, unless Defendants Kessler, Damigo, and Identity

 Evropa made their undisclosed witnesses available for depositions.

         5.      Mr. Kolenich filed an Amended Witness list on October 2, 2021 [ECF No. 1141],

 and subsequently agreed to make Daniel Ferguson, a previously undisclosed witness, available for

 a deposition prior to trial.

         6.      On October 4, 2021, I met and conferred with Defendant Christopher Cantwell via

 a telephone call regarding his witness list [ECF No. 1086].

         7.      I told Mr. Cantwell that certain witnesses on his witness list had not been properly

 disclosed to Plaintiffs.

         8.      I said that if Mr. Cantwell arranged depositions of the witnesses on his list who had

 not been properly disclosed, Plaintiffs would not move to preclude those witnesses.



                                                     1
Case 3:17-cv-00072-NKM-JCH Document 1152-1 Filed 10/04/21 Page 4 of 4 Pageid#:
                                  19329



        9.     Mr. Cantwell said that he cannot arrange depositions of any of his witnesses.

        10.    I therefore informed Mr. Cantwell that Plaintiffs would move to preclude his

 undisclosed witnesses.


  Executed on: October 4, 2021
  New York, New York                               Michael L. Bloch




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